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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Frank Jarvis Atwood,                             No. CV-22-00860-PHX-MTL (JZB)
10                 Plaintiff,                         ORDER
11   v.
12   David Shinn, et al.,
13                 Defendants.
14
15         Plaintiff Frank Atwood seeks authorization to conduct early discovery to learn the
16   identity of the compounding pharmacist who prepared the pentobarbital to be used to

17   execute Plaintiff on June 8, 2022 (Doc. 14). The Court denies the motion.
18         In determining whether to permit expedited discovery, district courts require the

19   moving party to demonstrate “good cause” exists to deviate from the standard pretrial

20   schedule set forth in Federal Rule of Civil Procedure 26. See Sovereign Bank v. Terrence
21   Scott Twyford, Jr., No. C11-1256RSM (W.D. Wash. Aug. 16, 2012) (adopting the “good
22   cause” standard for motions for expedited discovery); Renaud v. Gillick, No. C06-

23   1304RSL, 2007 WL 98465 (W.D. Wash. 2007) (finding that plaintiffs demonstrated good

24   cause for expedited discovery); see also Semitool, Inc. v. Tokyo Electron Am., Inc., 208

25   F.R.D. 273, 276 (N.D. Cal. 2002) (applying “the conventional standard of good cause in

26   evaluating Plaintiff's request for expedited discovery”). “Good cause may be found where
27   the need for expedited discovery, in consideration of the administration of justice,
28   outweighs the prejudice to the responding party.” Semitool, 208 F.R.D. at 276.
 1          The Ninth Circuit has held that where identity is unknown prior to the filing of a
 2   complaint, the plaintiff should be given an opportunity through discovery to identify the
 3   unknown defendants, unless it is clear that discovery would not uncover the identities, or
 4   that the complaint would be dismissed on other grounds. Wakefield v. Thompson, 177 F.3d
 5   1160, 1163 (9th Cir. 1999) (citing Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980)).
 6          Plaintiff contends that discovery of John Doe’s identity is necessary to effect service
 7   of the Complaint and to amend the Complaint to properly identify him. In Count V of the
 8   Complaint, where Plaintiff alleges a violation of his Fourteenth Amendment due process
 9   rights for Defendants’ failure to follow ADCRR’s execution protocol, Plaintiff claims John
10   Doe attested that he “follow[ed] the guidelines and requirements found in the United States
11   Pharmacopeia” (USP) in preparing the pentobarbital that will be used in Plaintiff’s
12   execution (Doc. 1 at 63 ¶ 243). However, testing disclosed in connection with Clarence
13   Dixon’s execution reflected such testing had not been completed in accordance with USP
14   guidelines. As a result, Defendant Doe is allegedly partially responsible for the resultant
15   due process violation.
16          Defendants object to Plaintiff’s discovery request. They maintain John Doe’s
17   identity must remain confidential under Arizona law and, alternatively, the pharmacist’s
18   identity is unnecessary for Plaintiff to obtain his requested relief. (Doc. 18). Plaintiff
19   replies that state law cannot overcome Plaintiff’s interest in learning John Doe’s identity
20   for the purpose of service.     Further, Plaintiff alleges that he has not received any
21   “information as to what this John Doe pharmacist actually did in preparing the lethal
22   injection drugs.” (Doc. 19 at 3).
23          The Court need not at this time resolve the question of whether John Doe’s identity
24   must remain confidential for the purpose of effecting service of process because the Court
25   agrees Doe’s identity is unnecessary to resolve Plaintiff’s pending motion for injunctive
26   relief. If the Court determines Defendants intend to use an expired or otherwise unreliable
27   drug to execute Plaintiff, the alleged constitutional violation would be redressable by an
28   order aimed at the ADCRR officials who utilize the drug, and not the John Doe Pharmacist


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 1   who prepared the drug. There is simply no cause at this juncture to identify and serve
 2   Defendant John Doe. Any claims about the testing underlying the pentobarbital to be used
 3   can be responded to by the remaining Defendants.
 4         IT IS THEREFORE ORDERED that Plaintiff’s Motion to Expedite Discovery
 5   (Doc. 14) is denied.
 6         Dated this 27th day of May, 2022.
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